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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:10-CR-00131-AWI
11
                                   Plaintiff,             FINAL ORDER OF FORFEITURE
12
                             v.
13
     JOSEPH NOLAN,
14   MARK McGRATH,
     DUSTIN YORK,
15   JOSEPH TAYLOR, and
     JEREMY DUNN,
16
                                   Defendants.
17

18
            WHEREAS, on November 10, 2011, March 18, 2013, and May 23, 2013, the Court entered
19
     Preliminary Orders of Forfeiture, pursuant to the provisions of 21 U.S.C. § 853, based upon the plea
20
     agreements entered into between plaintiff and defendants Joseph Nolan, Mark McGrath, Dustin York,
21
     Joseph Taylor, and Jeremy Dunn, forfeiting to the United States all right, title, and interest in the
22
     following property:
23
            a.       Grow Equipment: 65 - bubble bags,
24
            b.       Grow Equipment: 42 - Lumatek - LK1000 transformers,
25
            c.       Grow Equipment: 9 - 1000 watt transformers,
26
            d.       Grow Equipment: 1 - Nextgen transformer,
27
            e.       Grow Equipment: 51 - Hydrofarm reflective light hoods,
28
            f.       Grow Equipment: 2 - Carbon Filters,

      FINAL ORDER OF FORFEITURE                            1
30
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 1          g.       Grow Equipment: 2 - Sentinel CO2 generators,

 2          h.       Grow Equipment: 2 - Bug fumigation canisters,

 3          i.       Grow Equipment: 1 - Trim Reaper - Marijuana trimmer,

 4          j.       Grow Equipment: 1 - Water filter,

 5          k.       Grow Equipment: 2 -10”Vent Fans,

 6          l.       Grow Equipment: 15 - fluorescent reflector light fixtures,

 7          m.       Grow Equipment: 55 - Lumatek electrical transformers, and

 8          n.       Grow Equipment: 57 - CoolSun XL reflectors—1000 watts.

 9          AND WHEREAS, beginning on December 21, 2011, April 20, 2013, and June 4, 2013, for at

10 least 30 consecutive days, the United States published notice of the Court’s Order of Forfeiture on the

11 official internet government forfeiture site www.forfeiture.gov. Said published notice advised all third

12 parties of their right to petition the Court within sixty (60) days from the first day of publication of the

13 notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited property;

14          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

15 property and the time for any person or entity to file a claim has expired;

16          Accordingly, it is hereby ORDERED and ADJUDGED:

17          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

18 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be disposed of

19 according to law, including all right, title, and interest of Joseph Nolan, Mark McGrath, Dustin York,

20 Joseph Taylor, and Jeremy Dunn.

21          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

22 United States of America.

23          3.       The United States Marshals Service shall maintain custody of and control over the

24 subject property until it is disposed of according to law.

25

26 IT IS SO ORDERED.
27 Dated: September 29, 2015
                                                   SENIOR DISTRICT JUDGE
28


       FINAL ORDER OF FORFEITURE                            2
30
